           Case 2:21-cv-01716-JCM-NJK Document 8 Filed 11/08/21 Page 1 of 1




 1
 2
 3
 4
 5                             UNITED STATES DISTRICT COURT
 6                                     DISTRICT OF NEVADA
 7
     KIMBERLY BROWN,
 8                                                          Case No. 2:21-cv-01716-JCM-NJK
            Plaintiff(s),
 9                                                                         Order
     v.
10
     USAA CASUALTY INSURANCE
11   COMPANY,
12          Defendant(s).
13         To date, the parties have not filed a stipulated discovery plan as required by Local Rule 26-
14 1(a). The parties are hereby ORDERED to file, no later than November 15, 2021, a joint proposed
15 discovery plan.
16         IT IS SO ORDERED.
17         Dated: November 8, 2021
18                                                               ______________________________
                                                                 Nancy J. Koppe
19                                                               United States Magistrate Judge
20
21
22
23
24
25
26
27
28

                                                    1
